                          Case 4:13-cr-00324-KGB Document 44 Filed 08/05/14 Page 1 of 6
A0245B        (Rev 09/11) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                             Eastern District of Arkansas    JAME
                                                                                             By:____::...su-.,LII.lll.l-4~.1-+r~~iV
                                                                         )
             UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                      JEFFERY MURPHY                                      )
                                                                          )
                                                                                   Case Number: 4:13CR00324-01 KGB
                                                                          )        USM Number: 28353-009
                                                                          )
                                                                          )        Kim Driggers
                                                                                   Defendant's Attorney
THE DEFENDANT:
!i(pleaded guilty to count(s)          1 of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended
18 usc§ 371                        Conspiring to Traffic in Counterfeit Goods, A Class D Felony              10/13/2013                  1




       The defendant is sentenced as provided in pages 2 through          __6_ _ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                              Dis       Dare dismissed on the motion of the United States.
               -------------------------

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              7/31/2014
                                                                          Date oflmposition of Judgment




                                                                              Kristine G. Baker                         U.S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
                           Case 4:13-cr-00324-KGB Document 44 Filed 08/05/14 Page 2 of 6
AO 2458     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2- Imprisonment
                                                                                                 Judgment- Page   __2__ of   6
DEFENDANT: JEFFERY MURPHY
CASE NUMBER: 4:13CR00324-01 KGB


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 TIME SERVED




    D The court makes the following recommendations to the Bureau of Prisons:




    ~ The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at      -----------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED STATES MARSHAL


                                                                        By
                                                                                           DEPUTY UNITED STATES MARSHAL
                              Case 4:13-cr-00324-KGB Document 44 Filed 08/05/14 Page 3 of 6
AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3- Supervised Release
                                                                                                            Judgment-Page           of
DEFENDANT: JEFFERY MURPHY
CASE NUMBER: 4:13CR00324-01 KGB
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 THREE (3) YEARS

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an:x: unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment an(i at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any r>ersons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall r>ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view ofthe probation officer;
  II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or Rersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 2458   (Rev. 09111) Judgment in a Criminal Case
          Sheet 3C- Supervised Release
                                                                                            Judgment-Page          of
DEFENDANT: JEFFERY MURPHY
CASE NUMBER: 4:13CR00324-01 KGB

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Mr. Murphy shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, Mr. Murphy shall
 abstain from the use of alcohol throughout the course of treatment.

 2. Restitution of $14,836.35 is mandatory and is payable to Pawn America, Bailey Banks and Biddle, Arkansas Loans,
 lpawn, Braswell and Son, Mister Money Pawn Store, A&E Jewelers, and Thimke Diamonds during supervised release.
 Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's monthly gross
 income. The interest requirement is waived. Restitution shall be joint and several with co-defendant Rachel Behling and
 any other person who has been or will be convicted on an offense for which restitution to the same victim on the same loss
 is ordered.

 3. Pursuant to 18 U.S.C. §§ 1785 and 1829, Mr. Murphy shall not obtain employment in an institution insured by the FDIC
 or a Federal Credit Union.

 4. Mr. Murphy shall disclose financial information upon request of the U.S. Probation Office, including, but not limited to,
 loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
 No new lines of credit shall be established without prior approval of the U.S. Probation Office until all criminal penalties
 have been satisfied.
                          Case 4:13-cr-00324-KGB Document 44 Filed 08/05/14 Page 5 of 6
AO 2458    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                    5_ of
                                                                                                   Judgment- Page _ _                    6
DEFENDANT: JEFFERY MURPHY
CASE NUMBER: 4:13CR00324-01 KGB
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                       Fine                               Restitution
TOTALS             $ 100.00                                         $ 0.00                             $ 14,836.65


D The determination of restitution is deferred until           ---
                                                                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned P,ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                          Total Loss*          Restitution Ordered Priority or Percentage
  Pawn America                                                                                         $12,600.00

  Bailey Banks and Biddle                                                                                 $90.00

  Ipawn                                                                                                  $150.00

  Braswell and Son                                                                                       $135.00

  Arkansas Loans                                                                                         $500.00

  A&E Jewelers, Inc.                                                                                     $218.00

  Corinne Meyer

  Mister Money                                                                                           $146.00

  Greg Baer

  Thimke Diamonds                                                                                        $997.65

  Attn: William Timke


TOTALS                               $ - - - - - - - 0.00
                                                     --
                                                                           $ - - - - - 14,836.65
                                                                                       ----


 D    Restitution amount ordered pursuant to plea agreement $
                                                                      ----------------

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ri/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
     ri/ the interest requirement is waived for the D fine ri/ restitution.
      D the interest requirement for the              D fine   D restitution is modified as follows:


 *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April23, 1996.
AO 2458
                          Case 4:13-cr-00324-KGB Document 44 Filed 08/05/14 Page 6 of 6
           (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments
                                                                                                               Judgment- Page _      _,.6_ of            6
DEFENDANT: JEFFERY MURPHY
CASE NUMBER: 4:13CR00324-01 KGB

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ri/ Lump sum payment of$ _1_0_0_.0_0_ _ __ due immediately, balance due
                 not later than                                      , or
                 in accordance           D C,         D D,     D       E,or     r;l F below; or
 B    D    Payment to begin immediately (may be combined with                 D C,        D D, or       D F below); or
C     D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ~ Special instructions regarding the payment of criminal monetary penalties:
            Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's monthly
            gross income. The interest requirement is waived. Restitution shall be joint and several with co-defendant Rachel
            Behling and any other person who has been or will be convicted on an offense for which restitution to the same
            victim on the same loss is ordered.


 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 'if Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defondant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Jeffery Murphy, 4:13cr00324-01, $14836.65
       Rachel Behling, 4:13cr00324-02, $14836.05



 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
